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       SADIKI DARWESHI STREETE
7
8                               UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
12     UNITED STATES OF AMERICA,                     Case No. 19-675-TJH
13                 Plaintiff,                        ORDER
                                                     CONTINUING SENTENCING
14           v.                                      HEARING FROM MAY 17, 2021 TO
                                                     JULY 12, 2021 [51]
15     SADIKI DARWESHI STREETE,
16                 Defendant.
17
18           GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the
19     sentencing hearing is continued from May 17, 2021 to July 12, 2021 at 10:00 a.m.
20
21     DATED: MAY 4, 2021                By
22                                            HON. TERRY J. HATTER, JR.
                                              United States District Judge
23
24     Presented by:
25
            /s/ Elena Sadowsky
26     Deputy Federal Public Defender
27
28
